    Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 1 of 9 PageID #:300809




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                           Case No: 1:16-cv-08637
LITIGATION
_______________________________________                   Judge Thomas Durkin
                                                          Magistrate Judge Jeffrey T. Gilbert
THIS DOCUMENT RELATES TO:
DIRECT PURCHASER PLAINTIFF
ACTIONS, COMMERCIAL AND
INSTITUTIONAL INDIRECT PURCHASER
PLAINTIFF ACTIONS, AND END-USER
CONSUMER PLAINTIFF ACTIONS


       MOTION TO FILE A SUR-REPLY AND SUPPLEMENTAL EXPERT REPORT

         Defendants,1 by and through their undersigned counsel, respectfully move this Court for

entry of an Order providing Defendants an opportunity to respond on the grounds that (1) rebuttal

testimony must be limited to contradicting or rebutting evidence on the same subject matter

identified by another party under Fed. R. Civ. P. 26(a)(2)(D)(ii), and (2) Defendants should be

provided an opportunity to respond to the Ninth Circuit’s recent decision to vacate class

certification in Olean Wholesale Grocery Cooperative, Inc. v. Bumble Bee Foods LLC, 993

F.3d 774 (9th Cir. 2021). This Motion is based on the accompanying Memorandum of Law

in Support of Defendants’ Motion to File a Sur-Reply and Supplemental Expert Report.



1
         Defendants include Sanderson Farms, Inc.; Sanderson Farms, Inc. (Processing Division);
Sanderson Farms, Inc. (Production Division); Sanderson Farms, Inc. (Foods Division); Perdue Farms, Inc.;
Perdue Foods LLC; Mountaire Farms, Inc.; Mountaire Farms, LLC; Mountaire Farms of Delaware, Inc.;
Foster Farms, LLC; Foster Poultry Farms, a California Corporation; Koch Foods Incorporated; JCG Foods
of Alabama LLC; JCG Foods of Georgia LLC; Koch Meat Co., Inc.; Wayne Farms LLC; O.K. Foods, Inc.,
O.K. Farms, Inc.; O.K. Industries, Inc.; Mar-Jac Poultry, Inc.; Norman W. Fries, Inc. d/b/a Claxton Poultry
Farms; Agri Stats, Inc.; Simmons Foods, Inc.; Simmons Prepared Foods Inc.; House of Raeford Farms,
Inc.; Harrison Poultry, Inc.; Case Foods, Inc., Case Farms, LLC; and Case Farms Processing, Inc. Because
it has settled with the DPPs, Defendant Pilgrim’s Pride notes that it joins this Motion to File a Sur-Reply
and Expert Rebuttal Report only as to the CIIPP and EUCP actions.


                                                    1
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 2 of 9 PageID #:300810




Dated: May 20, 2021                        Respectfully submitted,


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                                       2
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 3 of 9 PageID #:300811




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                                                3
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 4 of 9 PageID #:300812




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                                            4
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 5 of 9 PageID #:300813




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                                              5
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 6 of 9 PageID #:300814




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                                           6
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 7 of 9 PageID #:300815




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                                              7
Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 8 of 9 PageID #:300816




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                                            8
 Case: 1:16-cv-08637 Document #: 4677 Filed: 05/20/21 Page 9 of 9 PageID #:300817




                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2021, a true and correct copy of the foregoing document

was electronically filed with the Clerk of the Court using CM/ECF system, which will send

notification of such filing to all counsel of record.

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                                                   9
